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                                                                                            Jun 16, 2022

                             IJN ITED STA TE S DISTR ICT C O UR T
                             SOUTHERN DISTRICT OF FLORIDA

                             22- 10011-CR-MOORE/SNOW
                            C ASE N O .
                                            16U.S.C.j33724d)
                                            16U.S.C.j3373(d)(3)(A)(i)
                                            18U.S.C.j2

  U NITED STATE S O F AM ER ICA

 V.

 ELITE SK Y IN TER N ATIO N AL ,IN C .,

                       D efendant.
                                             /

                                          TNFORM ATION
        The U nited StatesAttom ey ohargesthat:

                                  G EN ER AL A LLEG A TIO N S

        Ata11tim esm aterialto this Inform ation:

          1.    ELITE SKY INTERNATIONAI,,INC.(ELITE)was a Florida corporation
 locatedat1100OverseasHighway,M arathon,Florida33050,wlzich wasengagedin thewholesale

 exportoflive Spiny LbbsterQmnulirusargus) alad variousspeciesofshark finsto marketsin
 China.

               TheLacey Actmadeitunlawfulforany person to m ake orsubm itany falserecord,

 accotm t,or labelfor,or any false identification of any fish,w ildlife,orplant,wllich has been,or

 isintended to be,exported,transported,sold,orpurchased ortransported in interstate orforeign

 commerce. 16U.S.C.j3372(d)(1),(2).
                The Lacey A ctdefines Gçfish or w ildlife''to m ean çiany w ild anim al,w hether alive
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  ordead,including withoutlim itation any wild m arnmal,bird,reptile,amphibian,fish,mollusk,

  crustacean,artluopod,coelenterate,orotherinvertebrate,whetherornotbred,hatched,orbol'n in

  captivity,andinclud/sanypart,product,egg,oroffspringthereof.'' 16U.S.C.j3371(a).
         4.     Seafood pp ductsintended to be expoledto Chinaby ELITE werepackaged and

  transported from its location in M arathon to M iam iIntem ationalA irportor to FortLauderdale

  Intem ationalAirportwhere the shipm ents would be loaded aboard aircraftas air freight for

 transportto China.ELITE utilized the servicesofcustom sbrokers to effectuate the shipm ents,

 including the preparation of a11 necessary airw ay bills, labels, invoices, and doolm ents to

 accompany the shipm ents.
        5.      ELITE held W holesale Saltwater Products licenses from the State of Florida
                                                                                                     1
                                                                                                     ?
 allowing itto ptlrchase and selldomestically caughtSpiny Lobster,subjectto the laws and
 regulationsrelated thereto.Dudng theopen season forFlorida Spiny Lobster,ELITE ptlrchased

 significantnm ountsofSpiny Lobster dom estically,and exported thatproductto China.

        6.      Atvarioustim es,beginning atleast as early as November2018 and continuing

 through October2019,ELITE wastmableto satisfy custom erdemand in Chinafordom estically

 harvested Spiny Lobster. To deal with the shortfall,ELITE purchased foreign-origin Spiny

 Lobster from N icaragua and B elize. W lzen shipped f'
                                                      rom Florida to China,the foreign-origin

 Spiny Lobster airway bills oflading mld records required for exportw ere prepared to state Gt ive

 Florida Spiny Lobsters, Product of U .S.A.''The shipm ents were then exported and sold to

 custom ers in China. ELITE w as aw are thatthe shipm ents of Spiny Lobster from its facility in

 M arathon in fact contained substantial am otm ts of co-m ingled foreign-origin Spiny Lobster,

 although a11 the aceom panying docum entation, declarations, and invoices represented the

                                             - 2
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  shipm entsto contain solely thedomesticproductoftheUnited States.

                  ELITE acquired inventory of various species of shark fins f'
                                                                             rom a licensed

  commercialfisherm an in Florida.However,exports ofthe shark fins were never identified or

  declared in the accom panying aitw ay bills,invoices,ordeclarations asshark fm s,butratherw ere

 falsely labeled asSpiny Lobster,oron som eoccasionsasSTrozen Fish.''

                                             CO U N T 1
                                           False Labeling
                              (16U.S.C.jj33724*,3373(d)(3)(A)(i))
                  Paragraphs 1 through 6 ofthe GeneralA llegations section of this Inform ation are

 incom orated by referencehereirl,asifsetfoz'th in theirentirety.

                  Beginning in oraround November2018,and continuingthrough in oraround $
 October2019in M orlroeCounty,intheSouthern DistrictofFlorida,and elsewhere,thedefendant,)
              ,


                              EL ITE SK Y INTER N ATIO N A L,IN C -,

 did knowingly make and submit,atld cause to be m ade and subm itted,a false record,account,

 labelfor,andfalseidentification,offish and wildlife,namely,Spiny Lobster(Panulirusargus),
 thathad been andwereintendedtobeimported,exportedàndtransported in foreign commerce,in

 thatELITE falsely labeled approximately 63,095poundsofforeign origin Spiny Lobsterasçt ive

 Florida Spiny Lobsters,ProductofU.S.A,''in violation ofTitle 16,United StatesCode,Sections

 33724d)and3373(d)(3)(A)(i),andTitle18,UnitedStatesCode,Section2.
                                             C O U NT 2
                                           False L abeling
                              (16U.S.C.jj3372(d),3373(d)(3)(A)(i))
                  Paragraphs2,3,4,and7 oftheGeneralAllegationssection ofthisInformation are

 incorporated by reference herein,asifsetfol'th in theirentirety.

                                               N 3 -
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         2.     Begirming in or around N ovem ber 2018,and continuing through in or around

  October2019,inM om'
                    oeCotmty,intheSouthern DistrictofFlorida,andelsewhere,thedefendant,

                             ELITE SKY INTERNATIONAL,INC.,

  did knowingly m ake and subrnit,and cause to be made and subm itted,a false record,accotmt,

  label for,and false identification of fish and the parts thereof,nnm ely,various species of shark

  fins,thatwereintendedtobeexported andtransported in foreign comm erce,inthatELITE falsely

 labeled approxim ately 5,666 pounds ofshark fins as çt ive Florida Spiny Lobsters,Productof

 U.S.A''or dçFrozen Fish''in violation of Title 16,United States Code,Sections 33724/) and
 3373(d)(3)(A)(i),andTitle18,UnitedStatesCode,Section2.

                                 !
                                 ,




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 UN ITED STA TES T         RN EY


              ().       .
                        - v
 Th masA.W atts-FitzGer ld
 AssistantUnited StatesAttorney
Case 4:22-cr-10011-KMM Document 1 Entered on FLSD Docket 06/16/2022 Page 5 of 7



                           UNITED STATES DISTRICT COURT
                           SO UTH E RN DISTR ICT O F FL OR IDA

                                      PEN M TY SH EET

  D efendantfs N am e:ELITE SK Y IN TERN A TION A L,FN C

  C ase N o:

  Counts#:1and 2

  FalseLabelinz                                                 -           .-
                                                                                          '




 Title16sUrlitedStatesCodemSection33724*.3373(d)(3)(A)(i)
  *M ax.Penalty:Greaterof$500,000,ortwicethepecllniary gain/lossand 5 years'probation




   WR efersonly to possible term ofincarceration,does not include possible fines,restitution,
           specialassessm ents,pardle term s,orforfeitures thatm ay be applicable.
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                     CASE NO.:       22-10011-CR-MOORE/SNOW
v.
                                                             CERTIFICATE OF TRIAL ATTORNEY*
ELITE SKY INTERNATIONAL, INC.,
______________
       Defendant.
                  /                                          Superseding Case Information:
Court Division (select one)
      □
      Miami       u] Key West             □ FTP             New Defendant(s) (Yes orNo)
                                                            Number ofNew Defendants
      □
      FTL              □
                     WPB                                    Total number ofNew Counts

I do hereby certify that:
  1.    I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
        witnesses and the legal complexities of the Indictment/Information attached hereto.
 2.       I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
          their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

 3.       Interpreter: (Yes or No)No
          List language and/or dialect:
 4.       This case will take O    days for the parties to try.

 5.       Please check appropriate category and type of offense listed below:
          (Check only one)                          (Check only one)
          I   I[] 0 to 5 days                   □   Petty
          II   □  6 to 10 days                  Cl Minor
          III  □ 11 to 20 days                  □   Misdemeanor
          IV D 21 to 60 days                    III Felony
          V Cl 61 days and over

 6.       Has this case been previously filed in this District Court? (Yes orNo) No
          If yes, Judge                                  CaseNo.
 7.       Has a complaint been filed in this matter? (Yes orNo) No
          If yes, Magistrate CaseNo.
 8.       Does this case relate to a previously filed matter in this District Court? (Yes orNo) No
          If yes, Judge                                  CaseNo.
 9.       Defendant(s) in federal custody as of
 10.      Defendant(s) in state custody as of
 11.      Rule 20 from the                  District of
 12.      Is this a potential death penalty case? (Yes orNo) No
 13.      Does this case originate from a matter pending in theNorthern Region of the U.S. Attorney's Office
          prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes orNo) No
 14.      Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
          prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes orNo)No




                                                             By:

                                                                       Assistant United States Attorney
                                                                       FLA BarNo.        0273538
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AO455(Rev.01/09)W aiverofanIndictment

                                U NITED STATES D ISTRICT C OURT
                                                     forthe
                                           Southern DistrictofFlorida

               United StatesofAmerica                  )
                           V.                          )     CaseNo.22-10011-CR-MOORE/SNOW
         ELITE SKY INTER NATIO NAL,INC.,               )
                                                       )
                       Depndant                        )
                                        W AIVER OF AN G DICTM ENT

       1understand thatlhavebeen accused ofoneormoreoffensespunishableby imprisonmentformorethan one
year. 1wasadvised in open courtofmy rightsand thenatureoftheproposed chargesagainstme.

       Afterreceivingthisadvice,1waivemy rightto prosecution by indictm entand consentto prosecution by
information.




                                                                             Depndant'
                                                                                     ssi
                                                                                       gnature



                                                                         Signatureofdepndant'
                                                                                            sattorney

                                                                           M ichaelB.Nadl
                                                                                        er,Esq.
                                                                        Printednameofde#ndant'
                                                                                             sattorney


                                                                               Judge'
                                                                                    ssignature


                                                                          Judge'
                                                                               sprintednameand title
